                                                                                                                                                                                               Page:           1
                                        Case: 1:14-cv-01155-SO Doc #: 381-3        EXHIBIT1Cof 48. PageID #: 6346
                                                                            Filed: 08/05/21
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                  Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0072
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8457                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                   5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   03/31/15             1       First Merit Bank                          First Merit HSA Account                               1129-00                  $3,413.72                                 $3,413.72

   04/13/15            10       Fifth Third Bank                          Cash in Bank Asset #10                                1129-00                $23,008.65                                $26,422.37

   05/29/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $28.04          $26,394.33
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   06/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.11          $26,367.22
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   07/31/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.99          $26,339.23
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   08/31/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.96          $26,311.27
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   09/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.03          $26,284.24
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   10/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.90          $26,256.34
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   11/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $26.97          $26,229.37
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   12/31/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.84          $26,201.53
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   01/29/16                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.74          $26,173.79
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   02/29/16                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $25.92          $26,147.87
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   03/31/16                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $27.68          $26,120.19
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)


                                                                                 Page Subtotals:                                                       $26,422.37               $302.18
                                                                                                                                                                                                Page:           2
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 2 of 48. PageID #: 6347
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                   Bank Name: BOK Financial
                                                                                                                 Account Number/CD#: XXXXXX0072
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX8457                                                                             Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   04/29/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $26.76          $26,093.43
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   05/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $27.62          $26,065.81
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   06/30/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $26.70          $26,039.11
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   07/29/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $27.56          $26,011.55
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   08/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $27.53          $25,984.02
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   09/26/16             7       Ken Main II                               Proceeds of the Sale of Sea                            1129-00                $20,444.14                                $46,428.16
                                Gulf Shores Marina                        Ray Boat
   09/30/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $30.11          $46,398.05
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   10/07/16           3001      Kohrman Jackson & Krantz LLP              Receiver and Attorney for                              0000-00                                     $11,463.90           $34,934.15
                                                                          Receiver Fees
   10/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $41.29          $34,892.86
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   11/30/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $35.75          $34,857.11
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   12/21/16           3002      Bryan Jones                               Fifty Percent of Net Proceeds                          0000-00                                     $10,222.07           $24,635.04
                                c/o David P. Weimer, attorney             from Sale of Boat
                                Weimer Law Firm LLC
                                1790 Town Park Blvd. Suite B
                                Uniontown, OH 44685
   12/27/16             3       RBC                                       Cash in RBC                                            1129-00                  $9,149.87                               $33,784.91
                                P.O. Box 1510
                                Minneapolis, MN 55440




                                                                                 Page Subtotals:                                                        $29,594.01           $21,929.29
                                                                                                                                                                                              Page:           3
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 3 of 48. PageID #: 6348
                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                  Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0072
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8457                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                             3                                            4                                                    5                  6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                          ($)
   12/30/16                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                         $36.20          $33,748.71
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   01/24/17             4       RBC                                       White Pond 401(k)                                     1129-00               $279,039.63                              $312,788.34
                                P.O. Box 1510
                                Minneapolis, MN 55440
   01/31/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                         $34.08         $312,754.26
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   02/28/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                        $119.97         $312,634.29
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   03/14/17           3003      James W. Ehrman, Receiver                 Order on Third Appication                             0000-00                                    $11,729.20          $300,905.09
                                Whitmer & Ehrman LLC
                                2344 Canal Rd., Suite 401
                                Cleveland, OH 44113-2535
   03/18/17           3004      Whitmer & Ehrman LLC                      Compensation [Order Dkt. No.                          0000-00                                     $4,232.00          $296,673.09
                                2344 Canal Rd., Suite 401                 296].
                                Cleveland, OH 44113-2535
   03/31/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                        $129.45         $296,543.64
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   04/28/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                        $121.87         $296,421.77
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   05/31/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                        $125.88         $296,295.89
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   06/30/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                        $121.77         $296,174.12
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210



                                                                                 Page Subtotals:                                                      $279,039.63          $16,650.42
                                                                                                                                                                                               Page:           4
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 4 of 48. PageID #: 6349
                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                  Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0072
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8457                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   07/31/17                     BOK Financial                             Bank Service Fee under 11                             2600-00                                         $125.77         $296,048.35
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   08/31/17                     BOK Financial                             Bank Service Charge                                   2600-00                                         $125.72         $295,922.63
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   09/29/17                     BOK Financial                             Bank Service Charge                                   2600-00                                         $121.61         $295,801.02
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   10/31/17                     BOK Financial                             Bank Service Charge                                   2600-00                                         $125.61         $295,675.41
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   11/30/17                     BOK Financial                             Bank Service Charge                                   2600-00                                         $121.51         $295,553.90
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   12/29/17                     BOK Financial                             Bank Service Charge                                   2600-00                                         $125.51         $295,428.39
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   01/31/18                     BOK Financial                             Bank Service Charge                                   2600-00                                         $125.46         $295,302.93
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/28/18                     BOK Financial                             Bank Service Charge                                   2600-00                                         $113.27         $295,189.66
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   03/30/18                     BOK Financial                             Bank Service Charge                                   2600-00                                         $125.35         $295,064.31
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210




                                                                                 Page Subtotals:                                                             $0.00           $1,109.81
                                                                                                                                                                                             Page:           5
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 5 of 48. PageID #: 6350
                                                                        FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                        Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                Bank Name: BOK Financial
                                                                                                              Account Number/CD#: XXXXXX0072
                                                                                                                                       Checking Account
  Taxpayer ID No: XX-XXX8457                                                                          Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                         Separate Bond (if applicable):


       1                2                           3                                             4                                                   5                   6                     7

Transaction Date    Check or              Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                           ($)
   04/30/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $121.26         $294,943.05
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   05/31/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $125.25         $294,817.80
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   06/29/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $121.16         $294,696.64
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/31/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $125.15         $294,571.49
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   08/31/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $125.09         $294,446.40
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   09/28/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $121.00         $294,325.40
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   10/31/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $124.99         $294,200.41
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   11/30/18                     BOK Financial                             Bank Service Charge                                 2600-00                                         $120.91         $294,079.50
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   12/27/18             2       Whitmer & Ehrman LLC                      Reimbursement of                                    1129-00                  $2,160.00                              $296,239.50
                                2344 Canal Rd., Suite 401                 Overpayment of Fees
                                Cleveland, OH 44113-2535
   12/31/18                     BOK Financial                             Bank Service Charge                                 2600-000                                        $124.97         $296,114.53
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210

                                                                                Page Subtotals:                                                        $2,160.00           $1,109.78
                                                                                                                                                                                              Page:           6
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 6 of 48. PageID #: 6351
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                  Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0072
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8457                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                           3                                              4                                                   5                   6                     7

Transaction Date    Check or              Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   01/31/19                     BOK Financial                             Bank Service Charge                                   2600-000                                       $125.75         $295,988.78
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/28/19                     BOK Financial                             Bank Service Charge                                   2600-000                                       $113.53         $295,875.25
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   03/29/19                     BOK Financial                             Bank Service Charge                                   2600-000                                       $125.65         $295,749.60
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   04/30/19                     BOK Financial                             Bank Service Charge                                   2600-000                                       $121.54         $295,628.06
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   05/31/19                     BOK Financial                             Bank Service Charge                                   2600-000                                       $125.54         $295,502.52
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   06/28/19                     BOK Financial                             Bank Service Charge                                   2600-000                                       $121.44         $295,381.08
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/08/19                     BOK Financial                             Bank Service Charge                                   0000-000                                        $32.37         $295,348.71
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/10/19                     Transfer to Acct # xxxxxx0012             Transfer of Funds                                     9999-00                                   $295,348.71                 $0.00



                                                                                                          COLUMN TOTALS                              $337,216.01          $299,536.47
                                                                                                                Less: Bank Transfers/CD's                   $0.00         $295,348.71
                                                                                                          Subtotal                                   $337,216.01            $4,187.76
                                                                                                                Less: Payments to Debtors                   $0.00                $0.00
                                                                                                          Net                                        $337,216.01            $4,187.76

                                                                                 Page Subtotals:                                                            $0.00         $296,114.53
                                                                                                                                                                                               Page:           7
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 7 of 48. PageID #: 6352
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:007-SO                                                                                            Trustee Name: James Ehrman
      Case Name: JERRY A. CICOLANI, Jr.                                                                                   Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0012
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8457                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   07/10/19                     Transfer from Acct # xxxxxx0072           Transfer of Funds                                      9999-00              $295,348.71                               $295,348.71

   07/30/19             2       BlackRock College Advantage 529 Plan      Blackrock College Account                              1129-000              $65,742.31                               $361,091.02
                                                                          Funds
                                                                          M. Cicolani
   07/30/19             2       BlackRock CollegeAdvantage                Blackrock College Account                              1129-000              $68,144.87                               $429,235.89
                                                                          Funds
                                                                          N. Cicolani
   09/06/19             8       University of Mount Union                 Blackrock College Account                              1129-000              $29,903.57                               $459,139.46
                                1972 Clark Ave.                           Funds
                                Alliance, OH 44601
   02/19/20           2001      Kohrman Jackson & Krantz PLL              Professional Fees 529 Matter                           3120-000                                   $10,350.25          $448,789.21
                                1375 East 9th St.                         Receiver Fees $7,482.66
                                One Cleveland Center, 29th Floor          Attorney for Receiver Fees
                                Cleveland, OH 44114-1793                  $2,867.59
   02/19/20           2002      James Ehrman, Receiver                    Receiver Fees 529 Matter                               2100-000                                    $1,682.00          $447,107.21

   02/19/20           2003      Whitmer & Ehrman LLC                      Attorney for the Receiver                              3110-000                                    $3,240.00          $443,867.21
                                2344 Canal Road                           Cicolani
                                Cleveland, Ohio 44113


                                                                                                           COLUMN TOTALS                              $459,139.46           $15,272.25
                                                                                                                 Less: Bank Transfers/CD's            $295,348.71                 $0.00
                                                                                                           Subtotal                                   $163,790.75           $15,272.25
                                                                                                                 Less: Payments to Debtors                   $0.00                $0.00
                                                                                                           Net                                        $163,790.75           $15,272.25




                                                                                 Page Subtotals:                                                      $459,139.46           $15,272.25
                                                                                                                                                                  Page:     8
                                 Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 8 of 48. PageID #: 6353



                                                                                             TOTAL OF ALL ACCOUNTS
                                                                                                                                               NET             ACCOUNT
                                                                                                           NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                  XXXXXX0012 - Checking Account                                $163,790.75               $15,272.25           $443,867.21
                                                  XXXXXX0072 - Checking Account                                $337,216.01                $4,187.76                 $0.00

                                                                                                               $501,006.76               $19,460.01           $443,867.21

                                                                                                          (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                  transfers)            to debtors)
                                                  Total Allocation Receipts:                      $0.00
                                                  Total Net Deposits:                       $501,006.76
                                                  Total Gross Receipts:                     $501,006.76



Trustee Signature:   /s/ James Ehrman    Date: 08/04/2021

                     James Ehrman
                     Whitmer & Ehrman LLC
                     2344 Canal Road, Suite 401
                     Cleveland, OH 44113-2535
                     (216) 736-7298
                     jwe@kjk.com




                                                                          Page Subtotals:                                        $0.00                $0.00
                                                                                                                                                                                              Page:           1
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 9 of 48. PageID #: 6354
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                            Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                          Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                    5                  6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction                Uniform Tran.     Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                        ($)
   01/28/15                     JEFFREY L GAINER                                                                                                       $35,615.06                               $35,615.06

                                                                          Gross Receipts                            $35,615.06

                       11                                                 JP MORGAN CHASE X5006                     $13,009.38    1129-00

                       12                                                 JP MORGAN CHASE X7562                       $612.89     1129-00

                       13                                                 JP MORGAN CHASE X6617                     $21,992.79    1129-00

   02/27/15           3002      Jeffrey Gainer                            Carve Out for Personal Living                           0000-00                                  ($2,944.92)          $38,559.98
                                c/o Paul Shipp, Esq.                      Expenses Reversal
                                Weston Hurd LLP                           Voided for error in payee.
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   02/27/15                     Bank of Kansas City                       Bank Service Charge                                     2600-00                                       $29.27          $38,530.71
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/27/15           3001      Jeffrey and Nancy Gainer                  Carve Out for Personal Living                           0000-00                                   $2,944.92           $35,585.79
                                c/o Paul Shipp                            Expenses
                                Weston Hurd LLP                           From Docket #146, granted by
                                1301 East 9th St., Suite 1900             marginal order 2/3/2015
                                Cleveland, OH 44114-1862
   02/27/15           3002      Jeffrey Gainer                            Carve Out for Personal Living                           0000-00                                   $2,944.92           $32,640.87
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP                           From Docket #146, granted by
                                1301 East 9th St., Suite 1900             marginal order 2/3/2015
                                Cleveland, OH 44114-1862

   03/01/15           3003      Jeffrey and Nancy Gainer                  Carve Out for Personal Living                           0000-00                                   $2,944.92           $29,695.95
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP                           From Docket #146, granted by
                                1301 East 9th St., Suite 1900             marginal order 2/3/2015
                                Cleveland, OH 44114-1862




                                                                                 Page Subtotals:                                                       $35,615.06           $5,919.11
                                                                                                                                                                                               Page:           2
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 10 of 48. PageID #: 6355
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                             3                                            4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   03/05/15             2       Steve Horner                              Rent on Topflite property                             0000-00                  $1,000.00                               $30,695.95
                                2633 Top Flite Dr.
                                Akron, OH
   05/03/15           3004      Halls Total Home                          Repair on 2633 Top Flite                              0000-00                                      $2,100.00           $28,595.95
                                2759 Delhi Dr.                            Vendor Tax ID number 45-
                                Clinton, OH 44216                         5566427
   05/03/15           3005      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                      $2,944.92           $25,651.03
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   05/26/15             5       Dave Towell                               Sale Proceeds of Cadillac XTS                         1129-00                $15,107.87                                $40,758.90
                                111 West Market St.
                                Akron, OH 44308
   05/26/15           3006      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                      $2,944.92           $37,813.98
                                c/o Paul Shipp, Esq.                      Expenses - April
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   05/26/15           3007      Jeffrey Gainer                            Carve Out for Legal Expenses                          0000-00                                     $15,000.00           $22,813.98
                                c/o Paul Shipp, Esq.                      Dkt. No. 183
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   05/29/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $32.10          $22,781.88
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   06/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                          $24.32          $22,757.56
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   07/01/15           3008      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                      $2,944.92           $19,812.64
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862



                                                                                 Page Subtotals:                                                       $16,107.87           $25,991.18
                                                                                                                                                                                              Page:           3
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 11 of 48. PageID #: 6356
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                             3                                            4                                                    5                  6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                          ($)
   07/18/15           3009      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                     $5,889.84           $13,922.80
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP                           January and February
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   07/31/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                         $22.24          $13,900.56
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   08/29/15           3010      Security Safe & Lock Co.                  Change locks on Top Flite                             2420-00                                         $53.38          $13,847.18
                                2392 Turkeyfoot Lake Rd.                  Property
                                Akron, Ohio 44312
   08/31/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                         $15.36          $13,831.82
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   09/11/15           3011      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                     $5,889.84             $7,941.98
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP                           August and September
                                1301 East 9th St., Suite 1900             payments
                                Cleveland, OH 44114-1862

   09/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                         $11.42            $7,930.56
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   09/30/15           3012      Jeffrey and Nancy Gainer                  Carve Out for Personal Living                         0000-00                                     $4,100.00             $3,830.56
                                c/o Paul Shipp, Esq.                      Expenses - September
                                Weston Hurd LLP                           New monthly carve out plus
                                1301 East 9th St., Suite 1900             $500 moving expenses
                                Cleveland, OH 44114-1862

   10/23/15             1       1st Nationwide Title                      Sale Proceeds of Lido Court                           1110-00               $178,093.94                              $181,924.50
                                Summit 1 Professional Building
                                6155 Park Square Drive, Suite 8
                                Lorain, OH 44053
   10/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                         $23.27         $181,901.23
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)




                                                                                 Page Subtotals:                                                      $178,093.94          $16,005.35
                                                                                                                                                                                               Page:           4
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 12 of 48. PageID #: 6357
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                   5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   10/30/15           3013      Seese Lawn Care                           Lawn work for Top Flite                               2420-00                                         $720.00         $181,181.23
                                4370 Hilltop Dr.
                                Barberton, OH 44203
   10/30/15           3014      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                      $3,600.00          $177,581.23
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   11/30/15                     Bank of Kansas City                       Bank Service Fee under 11                             2600-00                                         $183.87         $177,397.36
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   12/01/15           3015      Jeffrey Gainer                            Carve Out for Personal Living                         0000-00                                      $3,600.00          $173,797.36
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   12/01/15           3016      Seese Lawn Care & Snow & Ice Mgt.         Lawn work and winterizing for                         0000-00                                         $650.00         $173,147.36
                                4370 Hilltop Dr.                          Top Flite Property
                                Barberton, OH 44203
   12/05/15           3017      Mary Amato                                Mold Abatement and Other                              0000-00                                      $2,000.00          $171,147.36
                                327 18th St. NW                           Cleaning and Preparation
                                Canton, OH 44703
   12/23/15           3018      Kohrman Jackson & Krantz LLP              Attorney for the Receiver fees                        0000-00                                     $11,052.80          $160,094.56
                                One Cleveland Center, 29th Floor
                                1375 East 9th St.
                                Cleveland, Ohio 44113
   12/23/15           3019      Kohrman Jackson & Krantz LLP              Receiver Fees                                         0000-00                                      $9,715.20          $150,379.36
                                One Cleveland Center, 29th Floor
                                1375 East 9th St.
                                Cleveland, Ohio 44114
   12/30/15           3020      Jeffrey Gainer                            Carve Out for Legal Expenses                          0000-00                                      $3,600.00          $146,779.36
                                c/o Paul Shipp, Esq.
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862




                                                                                 Page Subtotals:                                                             $0.00          $35,121.87
                                                                                                                                                                                                Page:           5
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 13 of 48. PageID #: 6358
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                         Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX8461                                                                             Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                            4                                                     5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   12/31/15                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                         $177.83         $146,601.53
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   01/29/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                         $156.44         $146,445.09
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   02/03/16           3021      Ohio Edison                               Electric Service at 2633 Top                           2420-00                                         $489.03         $145,956.06
                                P.O. Box 3687                             Flite
                                Akron, OH 44309-3687
   02/03/16           3022      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $3,600.00          $142,356.06
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   02/29/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                         $142.41         $142,213.65
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   03/29/16           3023      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $7,200.00          $135,013.65
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   03/29/16           3024      D.O.E.S.                                  Water & Sewer                                          0000-00                                         $524.66         $134,488.99
                                P.O. Box 1075
                                Cuyahoga Falls, OH 44223-0075
   03/29/16           3025      Ohio Edison                               Electric Service at 2633 Top                           0000-00                                          $92.99         $134,396.00
                                P.O. Box 3687                             Flite
                                Akron, OH 44309-3687
   03/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                         $150.56         $134,245.44
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   04/23/16           3026      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $3,600.00          $130,645.44
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862


                                                                                 Page Subtotals:                                                              $0.00          $16,133.92
                                                                                                                                                                                                Page:           6
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 14 of 48. PageID #: 6359
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                         Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX8461                                                                             Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                            4                                                     5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   04/23/16           3027      Diamond Shores Condominium                Condomiumium Fees in Full                              0000-00                                     $35,940.59           $94,704.85
                                Association
                                c/o Erica R. Finley, Esq.
                                Terminal Tower
                                50 Public Square, Ste. 2000
                                Cleveland, Ohio 44113
   04/23/16           3028      Ohio Edison                               Electric Service at 2633 Top                           0000-00                                          $35.48          $94,669.37
                                PO Box 3687                               Flite
                                Akron, OH 44309-3687
   04/29/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                         $141.04          $94,528.33
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   05/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                         $111.37          $94,416.96
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   06/30/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $96.73          $94,320.23
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   07/06/16           3029      Jeffrey Gainer                            Carve Out for Legal Expenses                           0000-00                                      $7,200.00           $87,120.23
                                c/o Paul Shipp, Esq.                      June and July
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   07/29/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $94.69          $87,025.54
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   08/03/16           3030      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $3,600.00           $83,425.54
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   08/25/16           3031      Dolan Bros Lawncare/Landscaping LLC       Landscaping for Top Flite                              0000-00                                          $53.38          $83,372.16
                                185 North Messner Rd.
                                Akron, OH 44319
   08/25/16           3032      Dolan Bros. Lawncare/Landscaping LLC      Landscaping for Top Flite                              0000-00                                      $1,729.35           $81,642.81
                                185 North Messner LLC
                                Akron, OH 44319

                                                                                 Page Subtotals:                                                              $0.00          $49,002.63
                                                                                                                                                                                                Page:           7
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 15 of 48. PageID #: 6360
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                         Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX8461                                                                             Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                   6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   08/25/16           3033      Ohio Edison                               Electric Service at 2633 Top                           0000-00                                         $121.62          $81,521.19
                                PO Box 3687                               Flite
                                Akron, OH 44309-3687
   08/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $89.42          $81,431.77
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   08/31/16           3034      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $3,600.00           $77,831.77
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   09/30/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $82.01          $77,749.76
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   10/07/16           3035      Kohrman Jackson & Krantz LLP              Receiver and Attorney for                              0000-00                                     $41,905.60           $35,844.16
                                                                          Receiver Fees
   10/17/16           3036      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $3,600.00           $32,244.16
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862

   10/31/16                     Bank of Kansas City                       Bank Service Fee under 11                              2600-00                                          $53.57          $32,190.59
                                                                          U.S.C. § 330(a)(1)(B), 503(b)
                                                                          (1), and 507(a)(2)
   11/04/16           3037      Dolan Bros Lawncare/Landscaping LLC       Lawn work for Top Flite                                0000-00                                         $320.25          $31,870.34
                                185 North Messner Rd.                     Property
                                Akron, OH 44319
   11/05/16           3038      John J. Lynch                             Appraisal Fee for Lido Court                           0000-00                                      $1,000.00           $30,870.34
                                Keller Williams                           Real Estate
                                2001 Crocker Rd., Ste. 200
                                Westlake, OH 44145
   11/14/16           3039      Jeffrey Gainer                            Carve Out for Personal Living                          0000-00                                      $3,600.00           $27,270.34
                                c/o Paul Shipp, Esq.                      Expenses
                                Weston Hurd LLP
                                1301 East 9th St., Suite 1900
                                Cleveland, OH 44114-1862


                                                                                 Page Subtotals:                                                              $0.00          $54,372.47
                                                                                                                                                                                               Page:           8
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                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: BOK Financial
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0116
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


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Transaction Date    Check or             Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   11/30/16                     Bank of Kansas City                      Bank Service Fee under 11                              2600-00                                          $31.09          $27,239.25
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/30/16                     Bank of Kansas City                      Bank Service Fee under 11                              2600-00                                          $28.83          $27,210.42
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/31/17                     BOK Financial                            Bank Service Fee under 11                              2600-00                                          $11.55          $27,198.87
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   02/11/17           3040      Dolan Brothers Lawncare LLC              Lawn work for Top Flite                                0000-00                                         $448.35          $26,750.52
                                185 North Messner Rd.                    Property
                                Akron, OH 44319
   02/11/17           3041      Ohio Edison                              Electric Service at 2633 Top                           2420-00                                          $24.35          $26,726.17
                                PO Box 3687                              Flite
                                Akron, OH 44309-3687
   02/28/17                     BOK Financial                            Bank Service Fee under 11                              2600-00                                          $10.40          $26,715.77
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   03/14/17           3042      James W. Ehrman, Receiver                Order on Third Appication                              0000-00                                      $2,012.40           $24,703.37
                                Whitmer & Ehrman LLC
                                2344 Canal Rd., Suite 401
                                Cleveland, OH 44113-2535
   03/18/17           3043      Whitmer & Ehrman LLC                     Compensation [Order Dkt. No.                           0000-00                                      $4,580.00           $20,123.37
                                2344 Canal Rd., Suite 401                296].
                                Cleveland, OH 44113-2535
   03/31/17                     BOK Financial                            Bank Service Fee under 11                              2600-00                                          $10.18          $20,113.19
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   04/28/17                     BOK Financial                            Bank Service Fee under 11                              2600-00                                          $10.00          $20,103.19
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210




                                                                                Page Subtotals:                                                              $0.00           $7,167.15
                                                                                                                                                                                                Page:           9
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 17 of 48. PageID #: 6362
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                            Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                          Bank Name: BOK Financial
                   NANCY GAINER                                                                                  Account Number/CD#: XXXXXX0116
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX8461                                                                              Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                             Separate Bond (if applicable):


       1                2                            3                                             4                                                      5                  6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction                Uniform Tran.       Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                          ($)
   05/31/17                     BOK Financial                             Bank Service Fee under 11                               2600-00                                         $10.00          $20,093.19
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   06/30/17                     BOK Financial                             Bank Service Fee under 11                               2600-00                                         $10.00          $20,083.19
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   07/29/17           3044      Dolan Brothers Lawncare LLC               Landscaping for Top Flite                               0000-00                                     $2,209.73           $17,873.46
                                185 North Messner Rd.                     Fix up and clean up for sale,
                                Akron, OH 44319                           mowing in June, July and
                                                                          August.
   07/31/17                     BOK Financial                             Bank Service Fee under 11                               2600-00                                         $10.00          $17,863.46
                                7500 College Blvd.                        U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                                (1), and 507(a)(2)
                                Overland Park, KS 66210
   08/11/17             1       1st Nationwide Title Agency, Ltd.         Payment of Amounts in Escrow                            1110-00                $48,801.61                               $66,665.07
                                Summit 1 Professional Bldg.
                                6155 Park Square Dr. Suite #8
                                Lorain, OH 44053
   08/19/17           3045      Ohio Edison                               Electric Service at 2633 Top                            0000-00                                         $42.06          $66,623.01
                                P.O. Box 3687                             Flite
                                Akron, OH 44309-3687
   08/31/17                     BOK Financial                             Bank Service Charge                                     2600-00                                         $19.10          $66,603.91
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   09/05/17             2       First Security Title Corporation          Proceeds of the Sale of Top                             1110-00                $12,398.78                               $79,002.69
                                Escrow Agent                              Flite Property
                                4367 State Rd.
                                Akron, OH 44319
   09/29/17                     BOK Financial                             Bank Service Charge                                     2600-00                                         $31.19          $78,971.50
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   10/31/17                     BOK Financial                             Bank Service Charge                                     2600-00                                         $33.53          $78,937.97
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210

                                                                                 Page Subtotals:                                                         $61,200.39           $2,365.61
                                                                                                                                                                                                Page:       10
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 18 of 48. PageID #: 6363
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                         Bank Name: BOK Financial
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0116
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX8461                                                                             Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                          3                                               4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                       Description of Transaction               Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                           ($)
   11/30/17                     BOK Financial                            Bank Service Charge                                     2600-00                                          $32.44          $78,905.53
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   12/29/17                     BOK Financial                            Bank Service Charge                                     2600-00                                          $33.51          $78,872.02
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   01/29/18             8       Indiana Auto Auction                     Ford F150                                               1129-00                $17,650.00                                $96,522.02
                                P.O. Box 8039
                                Fort Wayne, IN 46898-8093
   01/31/18                     BOK Financial                            Bank Service Charge                                     2600-00                                          $33.50          $96,488.52
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/09/18             6       Indiana Auto Auction                     Harley Davidson Motorcycle                              1129-00                  $7,035.00                              $103,523.52
                                P.O. Box 8039
                                Fort Wayne, IN 46898-8039
   02/09/18           3046      Ohio Edison                              Electricity at 2633 Top Flite                           0000-00                                          $70.94         $103,452.58
                                PO Box 3687
                                Akron, OH 44309-3687
   02/09/18           3047      D.O.S.S.S.                               Sewer                                                   0000-00                                          $21.10         $103,431.48
                                P.O. box 1259
                                Akron, OH 44309-1259
   02/28/18                     BOK Financial                            Bank Service Charge                                     2600-00                                          $38.39         $103,393.09
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   03/30/18                     BOK Financial                            Bank Service Charge                                     2600-00                                          $43.91         $103,349.18
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   04/30/18                     BOK Financial                            Bank Service Charge                                     2600-00                                          $42.47         $103,306.71
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210




                                                                                 Page Subtotals:                                                        $24,685.00               $316.26
                                                                                                                                                                                              Page:       11
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 19 of 48. PageID #: 6364
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                         Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                       Bank Name: BOK Financial
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0116
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8461                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   05/31/18                     BOK Financial                            Bank Service Charge                                   2600-00                                          $43.87         $103,262.84
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/02/18                     BOK Financial                            June - Bank service charge                            2600-00                                          $42.44         $103,220.40
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/31/18                     BOK Financial                            Bank Service Charge                                   2600-00                                          $43.83         $103,176.57
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   08/31/18                     BOK Financial                            Bank Service Charge                                   2600-00                                          $43.81         $103,132.76
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   09/28/18                     BOK Financial                            Bank Service Charge                                   2600-00                                          $42.38         $103,090.38
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   10/31/18                     BOK Financial                            Bank Service Charge                                   2600-00                                          $43.79         $103,046.59
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   11/30/18                     BOK Financial                            Bank Service Charge                                   2600-00                                          $42.35         $103,004.24
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   12/27/18           3048      Whitmer & Ehrman LLC                     Receiver and Attorney for                             2100-000                                     $1,176.00          $101,828.24
                                2344 Canal Rd., Suite 401                Receiver Fees
                                Cleveland, OH 44113
   12/27/18           3049      Whitmer & Ehrman LLC                     Receiver and Attorney for                             3310-000                                     $7,742.00           $94,086.24
                                2344 Canal Rd., Suite 401                Receiver Fees
                                Cleveland, OH 44113-2535
   12/31/18                     BOK Financial                            Bank Service Charge                                   2600-000                                         $43.74          $94,042.50
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210


                                                                                Page Subtotals:                                                             $0.00           $9,264.21
                                                                                                                                                                                              Page:       12
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 20 of 48. PageID #: 6365
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                       Bank Name: BOK Financial
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0116
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8461                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                           ($)
   01/04/19           3050      Whitmer & Ehrman LLC                     Receiver and Attorney for                             2200-000                                        $352.27          $93,690.23
                                2344 Canal Rd.                           Receiver Expenses
                                Cleveland, OH 44113-2535
   01/31/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $40.57          $93,649.66
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/28/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $35.92          $93,613.74
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   03/29/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $39.76          $93,573.98
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   04/30/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $38.46          $93,535.52
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   05/31/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $39.72          $93,495.80
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   06/28/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $38.42          $93,457.38
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/08/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $10.24          $93,447.14
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/10/19                     Transfer to Acct # xxxxxx0020            Transfer of Funds                                     9999-00                                     $93,447.14                 $0.00



                                                                                                          COLUMN TOTALS                              $314,702.26          $106,671.48
                                                                                                               Less: Bank Transfers/CD's                    $0.00          $93,447.14
                                                                                                          Subtotal                                   $314,702.26           $13,224.34

                                                                                Page Subtotals:                                                             $0.00          $94,042.50
                                                                                                  Page:   13
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                                            Less: Payments to Debtors       $0.00        $0.00
                                              Net                      $314,702.26   $13,224.34




                            Page Subtotals:                                  $0.00       $0.00
                                                                                                                                                                                                Page:       14
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 22 of 48. PageID #: 6367
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: Axos Bank
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0020
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                               4                                                   5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                            ($)
   07/10/19                     Transfer from Acct # xxxxxx0116          Transfer of Funds                                      9999-00                $93,447.14                                 $93,447.14

   07/29/19            14       Kristin Funk                             Settlement of Kristin Funk                             1129-000                    $333.33                               $93,780.47
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216                        First Payment
   08/01/19            15       Emily Morris                             Settlement of Emily Morris                             1129-000                    $333.53                               $94,114.00
                                4850 Marbury Ave. NE                     Litigation
                                Canton, OH 44705-3091
   08/01/19            16       Jonathan A. Biehl                        Settlement of Litigation                               1129-000                    $333.33                               $94,447.33
                                2631 Mount Pleasant St. NE
                                Canton, OH 44721-1546
   08/14/19            16       Katlin Biehl                             Settlement of Litigation                               1129-000                    $333.33                               $94,780.66
                                2631 Mount Pleasant St. NE
                                Canton, OH 44721-1546
   08/14/19            16       Jonathan A. Biehl                        Settlement of Litigation                               1129-000                 ($333.33)                                $94,447.33
                                2631 Mount Pleasant St. NE               Reversal
                                Canton, OH 44721-1546                    Check was returned by Axos
                                                                         Bank because of date issue.
   08/28/19            14       Kristin Funk                             Kristin Funk Settlement                                1129-000                    $333.33                               $94,780.66
                                7705 S. 6th Ave.                         Proceeds
                                Clinton OH 44216-9172
   09/06/19            16       Katlin Biehl                             Settlement of Katlin Biehl                             1129-000                    $333.33                               $95,113.99
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   09/06/19            15       Emily Morris                             Settlement of Emily Morris                             1129-000                    $333.33                               $95,447.32
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   10/08/19            14       Kristin Funk                             Settlement of Kristin Funk                             1129-000                    $333.33                               $95,780.65
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216-9172
   10/08/19            16       Katlin Biehl                             Settlement of Katlin Biehl                             1129-000                    $333.33                               $96,113.98
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   10/08/19            15       Emily E. Morris                          Settlement of Emily Morris                             1129-000                    $333.33                               $96,447.31
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091




                                                                                Page Subtotals:                                                        $96,447.31                  $0.00
                                                                                                                                                                                               Page:       15
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 23 of 48. PageID #: 6368
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: Axos Bank
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0020
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                               4                                                   5                    6                    7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)   Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
   11/05/19            14       Kristin N. Funk                           Kristin Funk Settlement                               1129-000                    $333.33                              $96,780.64
                                7705 S. 6th Ave.                          Proceeds
                                Clinton, OH 44216-9172
   11/05/19            15       Emily E. Morris                           Settlement of Emily Morris                            1129-000                    $333.33                              $97,113.97
                                4850 Marbury Ave. NE                      Litigaiton
                                Canton, OH 44705-3091
   11/05/19            16       Katlin P. Biehl                           Settlement of Katlin Biehl                            1129-000                    $333.33                              $97,447.30
                                2631 Mount Pleasant St. NE                Litigation
                                Canton, OH 44721-1546
   12/26/19            14       Kristin Funk                              Kristin Funk Settlement                               1129-000                    $333.33                              $97,780.63
                                7705 S. 6th Ave.                          Proceeds
                                Clinton, OH 44216-9172
   12/26/19            15       Emily Morris                              Settlement of Emily Morris                            1129-000                    $333.33                              $98,113.96
                                4850 Marbury Ave. NE                      Litigation
                                Canton, OH 44705-3091
   12/26/19            16       Katlin Biehl                              Settlement of Katlin Biehl                            1129-000                    $333.33                              $98,447.29
                                3631 Mount Pleasant St. NE                Litigation
                                Canton, OH 44721-1546
   01/07/20            16       Katlin Biehl                              Settlement of Katlin Biehl                            1129-000                    $333.33                              $98,780.62
                                2631 Mt. Pleasant St. NE                  Litigation
                                Canton, OH 44721
   01/07/20            15       Emily Morris                              Settlement of Emily Morris                            1129-000                    $333.33                              $99,113.95
                                4850 Marbury Ave. NE                      Litigaiton
                                Canton, OH 44705-3091
   01/07/20            14       Kristin Funk                              Settlement of Kristin Funk                            1129-000                    $333.33                              $99,447.28
                                                                          Litigation
   01/31/20            14       Kristin Funk                              Settlement of Kristin Funk                            1129-000                    $333.33                              $99,780.61
                                7705 S. 6th Ave.                          Litigation
                                Clinton, OH 44216
   01/31/20            16       Katlin Biehl                              Settlement of Katlin Biehl                            1129-000                    $333.33                             $100,113.94
                                2631 Mount Pleasant St. NE                Litigation
                                Canton, OH 44721-1546
   02/19/20           2001      Kohrman Jackson & Krantz PLL              Professional Fees Gainer                              3110-000                                     $22,150.91          $77,963.03
                                1375 East 9th St.                         Matter
                                One Cleveland Center, 29th Floor          Receiver Fees $6,128.38
                                Cleveland, OH 44114-1793                  Attorney for Receiver Fees
                                                                          $16,022.53


                                                                                 Page Subtotals:                                                         $3,666.63           $22,150.91
                                                                                                                                                                                               Page:       16
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 24 of 48. PageID #: 6369
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                         Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                       Bank Name: Axos Bank
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0020
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8461                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   02/19/20           2002      Whitmer & Ehrman LLC                     Attorney for Receiver Fees                            3110-000                                         $812.00          $77,151.03
                                2344 Canal Road                          Gainer
                                Cleveland, Ohio 44113
   03/18/20            15       Emily A. Morris                          Settlement of Emily Morris                            1129-000                    $333.33                               $77,484.36
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   03/18/20            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $77,817.69
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   03/18/20            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $78,151.02
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   03/18/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $78,484.35
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   04/07/20            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $78,817.68
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   04/07/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $79,151.01
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   05/13/20            15       Emily A. Morris                          Settlement of Emily Morris                            1129-000                    $333.33                               $79,484.34
                                4850 Marbury Ave. NE                     Litigation
                                Canton, OH 44705-3091
   05/13/20            14       Kristin N. Funk                          Settlement of Kristin Funk                            1129-000                    $333.33                               $79,817.67
                                7705 S. 6th Ave                          Litigation
                                Clinton, OH 44216-9172
   05/13/20            16       Jonathan A. Biehl                        Settlement of Katlin Biehl                            1129-000                    $333.33                               $80,151.00
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   06/08/20            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $80,484.33
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   06/08/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $80,817.66
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091




                                                                                Page Subtotals:                                                         $3,666.63               $812.00
                                                                                                                                                                                               Page:       17
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 25 of 48. PageID #: 6370
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                         Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                       Bank Name: Axos Bank
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0020
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8461                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   06/08/20            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $81,150.99
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   06/08/20            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $81,484.32
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   08/03/20            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $81,817.65
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   08/03/20            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $82,150.98
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   08/03/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $82,484.31
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   08/03/20            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $82,817.64
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   08/03/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $83,150.97
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   08/03/20            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $83,484.30
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   09/10/20            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $83,817.63
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   09/10/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $84,150.96
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   09/16/20            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    ($0.33)                               $84,150.63
                                                                         Litigation
                                                                         To correct deposit on
                                                                         10/8/2019 for written
                                                                         description of amount that
                                                                         differed from number amount.




                                                                                Page Subtotals:                                                         $3,332.97                 $0.00
                                                                                                                                                                                                Page:       18
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 26 of 48. PageID #: 6371
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                          Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: Axos Bank
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0020
                                                                                                                                         Checking Account
  Taxpayer ID No: XX-XXX8461                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                               4                                                   5                    6                     7

Transaction Date    Check or              Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                            ($)
   09/16/20            15       Settlement of Emily Morris                Settlement of Emily Morris                            1129-000                    ($0.33)                               $84,150.30
                                                                          Litigaiton
                                                                          Adjustment for deposit of
                                                                          12/26/2019 in which the written
                                                                          amount differed from the
                                                                          number amount by .33
   10/05/20            14       Kristin Funk                              Settlement of Kristin Funk                            1129-000                    $333.33                               $84,483.63
                                7705 S. 6th Ave.                          Litigation
                                Clinton, OH 44216
   10/05/20            16       Jonathan A. Biehl                         Settlement of Katlin Biehl                            1129-000                    $999.99                               $85,483.62
                                2631 Mount Pleasant St. NE                Litigation
                                Canton, OH 44721-1546
   10/05/20            15       Emily Morris                              Settlement of Emily Morris                            1129-000                    $333.33                               $85,816.95
                                4850 Marbury Ave. NE                      Litigaiton
                                Canton, OH 44705-3091
   11/18/20            14       Kristin Funk                              Kristin Funk Settlement                               1129-000                    $333.33                               $86,150.28
                                7705 S. 6th Ave.                          Proceeds
                                Clinton, OH 44216
   11/18/20            15       Emily Morris                              Settlement of Emily Morris                            1129-000                    $333.33                               $86,483.61
                                4850 Marbury Ave. NE                      Litigaiton
                                Canton, OH 44705-3091
   11/18/20            16       Katlin Biehl                              Settlement of Katlin Biehl                            1129-000                    $333.33                               $86,816.94
                                2631 Mount Pleasant St. NE                Litigation
                                Canton, OH 44721-1546
   12/19/20            16       Katlin Biehl                              Settlement of Katlin Biehl                            1129-000                    $333.33                               $87,150.27
                                2631 Mount Pleasant St. NE                Litigation
                                Canton, OH 44721-1546
   12/19/20            14       Kristin Funk                              Settlement of Kristin Funk                            1129-000                    $333.33                               $87,483.60
                                7705 S. 6th Ave.                          Litigation
                                Clinton, OH 44216
   01/25/21            15       Emily Morris                              Settlement of Emily Morris                            1129-000                    $333.33                               $87,816.93
                                4850 Marbury Ave. NE                      Litigaiton
                                Canton, OH 44705-3091
   01/25/21            14       Kristin Funk                              Settlement of Kristin Funk                            1129-000                    $333.33                               $88,150.26
                                7705 S. 6th Ave.                          Litigation
                                Clinton, OH 44216




                                                                                 Page Subtotals:                                                         $3,999.63                 $0.00
                                                                                                                                                                                               Page:       19
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 27 of 48. PageID #: 6372
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                         Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                       Bank Name: Axos Bank
                   NANCY GAINER                                                                                Account Number/CD#: XXXXXX0020
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8461                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   01/25/21            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $88,483.59
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   02/18/21            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $88,816.92
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   02/18/21            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $89,150.25
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   02/18/21            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $89,483.58
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   04/15/21            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $89,816.91
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   04/15/21            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $90,150.24
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   04/15/21            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $90,483.57
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   04/15/21            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $90,816.90
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   04/15/21            14       Kristin Funk                             Settlement of Kristin Funk                            1129-000                    $333.33                               $91,150.23
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   07/26/21            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $91,483.56
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   07/26/21            15       Emily Morris                             Settlement of Emily Morris                            1129-000                    $333.33                               $91,816.89
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   07/26/21            16       Katlin Biehl                             Settlement of Katlin Biehl                            1129-000                    $333.33                               $92,150.22
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546




                                                                                Page Subtotals:                                                         $3,999.96                 $0.00
                                                                                                                                                                                                Page:       20
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 28 of 48. PageID #: 6373
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:011-SO                                                                                           Trustee Name: James Ehrman
      Case Name: JEFFREY L GAINER                                                                                        Bank Name: Axos Bank
                   NANCY GAINER                                                                                 Account Number/CD#: XXXXXX0020
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX8461                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                           3                                             4                                                    5                     6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)        Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                             ($)
   07/26/21            14       Kristin Funk                             Settlement of Kristin Funk                             1129-000                   $333.33                                $92,483.55
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   07/26/21            15       Emily Morris                             Settlement of Emily Morris                             1129-000                   $333.33                                $92,816.88
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   07/26/21            14       Kristin Funk                             Settlement of Kristin Funk                             1129-000                   $333.33                                $93,150.21
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   07/26/21            16       Katlin Biehl                             Settlement of Katlin Biehl                             1129-000                   $333.33                                $93,483.54
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546
   07/26/21            14       Kristin Funk                             Settlement of Kristin Funk                             1129-000                   $333.33                                $93,816.87
                                7705 S. 6th Ave.                         Litigation
                                Clinton, OH 44216
   08/02/21            15       Emily Morris                             Settlement of Emily Morris                             1129-00                     ($0.33)                               $93,816.54
                                4850 Marbury Ave. NE                     Litigaiton
                                Canton, OH 44705-3091
   08/02/21            16       Katlin Biehl                             Settlement of Katlin Biehl                             1129-00                    ($30.00)                               $93,786.54
                                2631 Mount Pleasant St. NE               Litigation
                                Canton, OH 44721-1546                    To correct for December entry
                                                                         Words did not match digits,
                                                                         $30.00 discrepancy.


                                                                                                          COLUMN TOTALS                              $116,749.45             $22,962.91
                                                                                                                Less: Bank Transfers/CD's             $93,447.14                   $0.00
                                                                                                          Subtotal                                    $23,302.31             $22,962.91
                                                                                                                Less: Payments to Debtors                    $0.00                 $0.00
                                                                                                          Net                                         $23,302.31             $22,962.91




                                                                                Page Subtotals:                                                         $1,636.32                  $0.00
                                                                                                                                                                  Page:     21
                                Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 29 of 48. PageID #: 6374



                                                                                             TOTAL OF ALL ACCOUNTS
                                                                                                                                               NET            ACCOUNT
                                                                                                           NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                  XXXXXX0020 - Checking Account                                 $23,302.31               $22,962.91           $93,786.54
                                                  XXXXXX0116 - Checking Account                                $314,702.26               $13,224.34                $0.00

                                                                                                               $338,004.57               $36,187.25           $93,786.54

                                                                                                          (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                  transfers)            to debtors)
                                                  Total Allocation Receipts:                      $0.00
                                                  Total Net Deposits:                       $338,004.57
                                                  Total Gross Receipts:                     $338,004.57



Trustee Signature:   /s/ James Ehrman    Date: 08/04/2021

                     James Ehrman
                     Whitmer & Ehrman LLC
                     2344 Canal Road, Suite 401
                     Cleveland, OH 44113-2535
                     (216) 736-7298
                     jwe@kjk.com




                                                                          Page Subtotals:                                        $0.00                $0.00
                                                                                                                                                                                               Page:           1
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 30 of 48. PageID #: 6375
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                         Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                          Bank Name: BOK Financial
                                                                                                               Account Number/CD#: XXXXXX0138
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7081                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                             3                                           4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   03/27/15             1       H&H Property I Land Trust                Return of Prepaid Rental                              1129-00                   $6,193.26                                 $6,193.26
                                c/o Sabadell United Bank
                                PO Box 5460
                                Hialeah, FL 33014
   03/27/15             1       H & H Naples Property I Land Trust       Return of Prepaid Rental                              1129-00                $180,000.00                               $186,193.26
                                713 Courtside Dr.
                                Naples, FL 34105
   03/30/15             2       Roetzel & Andress Trust Account          Escrow Holdback for 482 13th                          1129-00                 $99,264.89                               $285,458.15
                                850 Park Shore Drive                     Ave. South, Naples, FL
                                Trianon Centre, 3d Floor
                                Naples, FL 34103
   04/30/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $288.41         $285,169.74
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/26/15             5       Nordstrom                                Payment for Gift Cards                                1129-00                   $3,000.00                              $288,169.74
                                PO Box 91000
                                Seattle, WA 98111-9100
   05/29/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $302.97         $287,866.77
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/30/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $295.75         $287,571.02
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/31/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $305.29         $287,265.73
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/31/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $304.97         $286,960.76
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/30/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $294.82         $286,665.94
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/30/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $304.33         $286,361.61
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/30/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $294.20         $286,067.41
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

                                                                                Page Subtotals:                                                       $288,458.15            $2,390.74
                                                                                                                                                                                               Page:           2
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 31 of 48. PageID #: 6376
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                         Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                          Bank Name: BOK Financial
                                                                                                               Account Number/CD#: XXXXXX0138
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7081                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                             3                                           4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   12/31/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $303.70         $285,763.71
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $302.55         $285,461.16
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $282.73         $285,178.43
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/31/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $301.93         $284,876.50
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $291.88         $284,584.62
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/31/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $301.30         $284,283.32
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/30/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $291.27         $283,992.05
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $300.67         $283,691.38
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/31/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $300.35         $283,391.03
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/30/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $290.35         $283,100.68
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/07/16            101      Kohrman Jackson & Krantz LLP             Receiver and Attorney for                             0000-00                                      $29,936.10          $253,164.58
                                                                         Receiver Fees
   10/31/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $279.28         $252,885.30
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/30/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $259.10         $252,626.20
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

                                                                                Page Subtotals:                                                              $0.00          $33,441.21
                                                                                                                                                                                               Page:           3
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                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                         Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                          Bank Name: BOK Financial
                                                                                                               Account Number/CD#: XXXXXX0138
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7081                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                             3                                           4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   12/30/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-00                                          $267.46         $252,358.74
                                                                         U.S.C. § 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                          $107.16         $252,251.58
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   02/28/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                           $96.75         $252,154.83
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   03/14/17            102      James W. Ehrman, Receiver                Order on Third Appication                             0000-00                                      $39,275.60          $212,879.23
                                Whitmer & Ehrman LLC
                                2344 Canal Rd., Suite 401
                                Cleveland, OH 44113-2535
   03/14/17            103      James W. Ehrman, Receiver                Order on Third Appication                             0000-00                                       $1,844.00          $211,035.23
                                Whitmer & Ehrman LLC
                                2344 Canal Rd., Suite 401
                                Cleveland, OH 44113-2535
   03/18/17            104      Whitmer & Ehrman LLC                     Compensation [Order Dkt. No.                          0000-00                                      $53,478.00          $157,557.23
                                2344 Canal Rd., Suite 401                296].
                                Cleveland, OH 44113-2535
   03/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                           $89.44         $157,467.79
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   04/28/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                           $64.71         $157,403.08
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   05/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                           $66.84         $157,336.24
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   06/30/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                           $64.66         $157,271.58
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210


                                                                                Page Subtotals:                                                              $0.00          $95,354.62
                                                                                                                                                                                               Page:           4
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 33 of 48. PageID #: 6378
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                         Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                          Bank Name: BOK Financial
                                                                                                               Account Number/CD#: XXXXXX0138
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX7081                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                     5                   6                     7

Transaction Date    Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   07/31/17                     BOK Financial                            Bank Service Fee under 11                             2600-00                                           $66.79         $157,204.79
                                7500 College Blvd.                       U.S.C. § 330(a)(1)(B), 503(b)
                                Suite 1450                               (1), and 507(a)(2)
                                Overland Park, KS 66210
   08/31/17                     BOK Financial                            Bank Service Charge                                   2600-00                                           $66.75         $157,138.04
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   09/29/17                     BOK Financial                            Bank Service Charge                                   2600-00                                           $64.57         $157,073.47
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   10/31/17                     BOK Financial                            Bank Service Charge                                   2600-00                                           $66.70         $157,006.77
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   11/30/17                     BOK Financial                            Bank Service Charge                                   2600-00                                           $64.52         $156,942.25
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   12/29/17                     BOK Financial                            Bank Service Charge                                   2600-00                                           $66.65         $156,875.60
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   01/31/18                     BOK Financial                            Bank Service Charge                                   2600-00                                           $66.62         $156,808.98
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/28/18                     BOK Financial                            Bank Service Charge                                   2600-00                                           $60.15         $156,748.83
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   03/30/18                     BOK Financial                            Bank Service Charge                                   2600-00                                           $66.56         $156,682.27
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210




                                                                                Page Subtotals:                                                              $0.00              $589.31
                                                                                                                                                                                             Page:           5
                                      Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 34 of 48. PageID #: 6379
                                                                        FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                       Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                        Bank Name: BOK Financial
                                                                                                             Account Number/CD#: XXXXXX0138
                                                                                                                                      Checking
  Taxpayer ID No: XX-XXX7081                                                                         Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                        Separate Bond (if applicable):


       1                2                          3                                             4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                    Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                   Code                                                            ($)
   04/30/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $64.39         $156,617.88
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   05/31/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $66.51         $156,551.37
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   06/29/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $64.34         $156,487.03
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/31/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $66.45         $156,420.58
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   08/31/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $66.43         $156,354.15
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   09/28/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $64.26         $156,289.89
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   10/31/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $66.37         $156,223.52
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   11/30/18                     BOK Financial                            Bank Service Charge                                 2600-00                                           $64.20         $156,159.32
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   12/31/18                     BOK Financial                            Bank Service Charge                                 2600-000                                          $66.31         $156,093.01
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210




                                                                               Page Subtotals:                                                             $0.00              $589.26
                                                                                                                                                                                              Page:           6
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 35 of 48. PageID #: 6380
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                          Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                          Bank Name: BOK Financial
                                                                                                               Account Number/CD#: XXXXXX0138
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX7081                                                                          Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                            ($)
   01/31/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $66.29         $156,026.72
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   02/28/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $59.85         $155,966.87
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   03/29/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $66.23         $155,900.64
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   04/30/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $64.07         $155,836.57
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   05/31/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $66.17         $155,770.40
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   06/28/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $64.02         $155,706.38
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/08/19                     BOK Financial                            Bank Service Charge                                   2600-000                                         $17.06         $155,689.32
                                7500 College Blvd.
                                Suite 1450
                                Overland Park, KS 66210
   07/10/19                     Transfer to Acct # xxxxxx0038            Transfer of Funds                                     9999-00                                    $155,689.32                 $0.00



                                                                                                         COLUMN TOTALS                               $288,458.15          $163,924.45
                                                                                                               Less: Bank Transfers/CD's                    $0.00         $155,689.32
                                                                                                         Subtotal                                    $288,458.15            $8,235.13
                                                                                                               Less: Payments to Debtors                    $0.00                $0.00
                                                                                                         Net                                         $288,458.15            $8,235.13

                                                                                Page Subtotals:                                                             $0.00         $156,093.01
                                                                                                                                                                                              Page:           7
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 36 of 48. PageID #: 6381
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:014-SO                                                                                          Trustee Name: James Ehrman
      Case Name: CICOLANI/HOOD                                                                                          Bank Name: Axos Bank
                                                                                                               Account Number/CD#: XXXXXX0038
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX7081                                                                          Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                            ($)
   07/10/19                     Transfer from Acct # xxxxxx0138          Transfer of Funds                                     9999-00               $155,689.32                               $155,689.32



                                                                                                         COLUMN TOTALS                               $155,689.32                 $0.00
                                                                                                               Less: Bank Transfers/CD's             $155,689.32                 $0.00
                                                                                                         Subtotal                                           $0.00                $0.00
                                                                                                               Less: Payments to Debtors                    $0.00                $0.00
                                                                                                         Net                                                $0.00                $0.00




                                                                                Page Subtotals:                                                      $155,689.32                 $0.00
                                                                                                                                                                  Page:     8
                                Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 37 of 48. PageID #: 6382



                                                                                             TOTAL OF ALL ACCOUNTS
                                                                                                                                              NET              ACCOUNT
                                                                                                           NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                  XXXXXX0038 - Checking                                               $0.00                  $0.00            $155,689.32
                                                  XXXXXX0138 - Checking                                        $288,458.15               $8,235.13                  $0.00
                                                                                                               $288,458.15               $8,235.13            $155,689.32

                                                                                                          (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                  transfers)            to debtors)
                                                  Total Allocation Receipts:                      $0.00
                                                  Total Net Deposits:                       $288,458.15
                                                  Total Gross Receipts:                     $288,458.15



Trustee Signature:   /s/ James Ehrman    Date: 08/04/2021

                     James Ehrman
                     Whitmer & Ehrman LLC
                     2344 Canal Road, Suite 401
                     Cleveland, OH 44113-2535
                     (216) 736-7298
                     jwe@kjk.com




                                                                          Page Subtotals:                                        $0.00                $0.00
                                                                                                                                                                                                  Page:           1
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                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                         Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                       Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0149
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX8685                                                                             Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                           3                                                4                                                    5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction               Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                             ($)
   09/22/17             2        Eleanor G. Klemm                         Settlement of Klemm Litigation                         1290-00                   $5,000.00                                  $5,000.00
                                 6485 Gates Mills Blvd.
                                 Mayfield Hts., OH 44124-4224
   09/29/17                      BOK Financial                            Bank Service Charge                                    2600-00                                            $10.00            $4,990.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   10/11/17             1        Jeremy Hixson                            Litigation Settlement                                  1141-00                 $12,000.00                                 $16,990.00

   10/11/17             1        Jeremy Hixson                            Litigation Settlement                                  1141-00                   $1,000.00                                $17,990.00

   10/11/17             1        Jeremy Hixson                            Litigation Settlement                                  1141-00                      $250.00                               $18,240.00

   10/16/17             1        Jeremy Hixson                            Settlement of Litigation                               1141-00                      $250.00                               $18,490.00

   10/31/17                      BOK Financial                            Bank Service Charge                                    2600-00                                            $10.00          $18,480.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   11/30/17                      BOK Financial                            Bank Service Charge                                    2600-00                                            $10.00          $18,470.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   12/21/17             1        Jeremy Hixson                            Settlement of Hixson Litigation                        1141-00                      $250.00                               $18,720.00
                                 3593 Eagles Nest Cir. NW
                                 Uniontown, OH 44685-6602
   12/21/17             1        Jeremy Hixson                            Settlement of Hixson Litigation                        1141-00                      $215.00                               $18,935.00
                                 3593 Eagles Nest Cir. NW
                                 Uniontown, OH 44685-6602
   12/29/17                      BOK Financial                            Bank Service Charge                                    2600-00                                            $10.00          $18,925.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   01/29/18             1        Jeremy Hixson                            Installment Payment                                    1141-00                      $250.00                               $19,175.00
                                 3593 Eagles Nest Cir. NW
                                 Uniontown, OH 44685-6602




                                                                                 Page Subtotals:                                                         $19,215.00                 $40.00
                                                                                                                                                                                                 Page:           2
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 39 of 48. PageID #: 6384
                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                        Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                      Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0149
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX8685                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                     5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                             ($)
   01/31/18                      BOK Financial                            Bank Service Charge                                   2600-00                                            $10.00          $19,165.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   02/09/18             1        Jeremy Hixson                            Litigation Settlement                                 1141-00                      $250.00                               $19,415.00
                                 3593 Eagles Nest Cir. NW
                                 Uniontown, OH 44685-6602
   02/28/18                      BOK Financial                            Bank Service Charge                                   2600-00                                            $10.00          $19,405.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   03/13/18             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-00                      $250.00                               $19,655.00
                                 3596 Eagles Nest Cir. NW
                                 Uniontown, OH 44685-6602

   03/30/18                      BOK Financial                            Bank Service Charge                                   2600-00                                            $10.00          $19,645.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   04/30/18                      BOK Financial                            Bank Service Charge                                   2600-00                                            $10.00          $19,635.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   05/07/18             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-00                      $250.00                               $19,885.00
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   05/21/18             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-00                      $250.00                               $20,135.00
                                 2040 Burgess Dr., Unit 312
                                 Uniontown, OH 44685-8918
   05/31/18                      BOK Financial                            Bank Service Charge                                   2600-00                                            $10.00          $20,125.00
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   06/18/18             1        jeremy Hixson                            Settlement of Hixson Litigation                       1141-00                   $2,250.00                                $22,375.00
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918




                                                                                 Page Subtotals:                                                          $3,250.00                $50.00
                                                                                                                                                                                                    Page:           3
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                                                                          FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                           Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                         Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0149
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX8685                                                                               Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                              Separate Bond (if applicable):


       1                2                             3                                             4                                                       5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction                Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                        Code                                                             ($)
   06/18/18                      Iberia Bank                               Kelly Hood Money on Deposit                             0000-00                       $44.31                               $22,419.31
                                 1111 Brickell Ave. 29th Fl.
                                 Miami, FL 33131
   06/18/18                      Iberia Bank                               Turnbury Consulting                                     0000-00                       $26.06                               $22,445.37
                                 1111 Brickell Ave. 29th Fl.
                                 Miami, FL 33131
   06/29/18                      BOK Financial                             Bank Service Charge                                     2600-00                                            $10.00          $22,435.37
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   07/31/18                      BOK Financial                             Bank Service Charge                                     2600-00                                            $10.00          $22,425.37
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   08/16/18             1        Jeremy Hixson                             Settlement of Hixson Litigation                         1141-00                      $250.00                               $22,675.37
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   08/20/18             1        Jeremy Hixson                             Settlement of Hixson Litigation                         1141-00                   $3,000.00                                $25,675.37
                                 2040 Burgess Dr. Unit 312
                                 Uniontown,, OH 44685-8918
   08/31/18                      BOK Financial                             Bank Service Charge                                     2600-00                                            $10.00          $25,665.37
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   09/28/18                      BOK Financial                             Bank Service Charge                                     2600-00                                            $10.55          $25,654.82
                                 7500 College Blvd.
                                 Suite 1450
                                 Overland Park, KS 66210
   10/17/18             1        Jeremy Hixson                             Settlement of Hixson Litigation                         1141-00                      $250.00                               $25,904.82
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-08918
   10/17/18             3        James Ehrman Receiver for Thomas          Transfer of Funds to Close                              1129-00                 $14,384.94                                 $40,289.76
                                 Abdallah                                  Account in Case No. 1
                                                                           Transfer of funds to the main
                                                                           account per Court's Order of
                                                                           October 15, 2018




                                                                                  Page Subtotals:                                                          $17,955.31                 $40.55
                                                                                                                                                                                                Page:           4
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                                                                         FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                        Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                      Bank Name: BOK Financial
                                                                                                                Account Number/CD#: XXXXXX0149
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX8685                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                     5                    6                    7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)   Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   10/29/18             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-00                      $250.00                              $40,539.76
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   10/29/18             4        James Ehrman, Receiver for Thomas        Transfer of Funds to Close                            1129-00                   $7,416.72                               $47,956.48
                                 Abdallah                                 Account in Case No. 3

   10/29/18             5        James Ehrman Receiver                    Transfer of Funds to Close                            1129-00                 $67,487.23                               $115,443.71
                                                                          Account in Case No. 5
   10/29/18             6        James Ehrman Receiver                    Transfer of Funds to Close                            1129-00                 $16,406.97                               $131,850.68
                                                                          Account in Case No. 6
   10/29/18             7        James Ehrman, Receiver                   Transfer of Funds to Close                            1129-00                $374,767.46                               $506,618.14
                                                                          Account in Case No. 8
   10/29/18             8        James Ehrman, Receiver                   Transfer of Funds to Close                            1129-00                $150,025.80                               $656,643.94
                                                                          Account in Case No. 10
   10/29/18             9        James Ehrman Receiver                    Transfer of Funds to Close                            1129-00                 $11,858.82                               $668,502.76
                                                                          Account in Case No. 12
   11/19/18             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-00                   $4,250.00                              $672,752.76
                                 2040 Burgess Dr., Unit 312
                                 Uniontown, OH 44685-8918
   12/27/18             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-00                      $250.00                             $673,002.76
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   12/27/18             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-00                   $2,000.00                              $675,002.76
                                 2040 Burgess Dr., Unit 312
                                 Uniontown, OH 44685-8918
   12/27/18                      Whitmer & Ehrman LLC                     Reimbursement of                                      1129-00                   $2,160.00                              $677,162.76
                                 2344 Canal Rd.                           Overpayment of Fees
                                 Cleveland, OH 44113
   12/27/18                      Whitmer & Ehrman LLC                     Reimbursement of                                      1129-00                 ($2,160.00)                              $675,002.76
                                 2344 Canal Rd.                           Overpayment of Fees Reversal
                                 Cleveland, OH 44113                      Should have been deposited in
                                                                          Case No. 007 Cicolani
   12/27/18            101       Whitmer & Ehrman LLC                     Receiver and Attorney for                             3110-000                                      $87,888.00         $587,114.76
                                 2344 Canal Rd., Suite 401                Receiver Fees
                                 Cleveland, OH 44113-2535




                                                                                 Page Subtotals:                                                       $634,713.00            $87,888.00
                                                                                                                                                                                                 Page:           5
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 42 of 48. PageID #: 6387
                                                                          FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                           Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                        Bank Name: BOK Financial
                                                                                                                  Account Number/CD#: XXXXXX0149
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX8685                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                     5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                      Code                                                            ($)
   12/27/18            102       James Ehrman, Receiver                   Receiver and Attorney for                               2100-000                                    $12,404.00          $574,710.76
                                 Whitmer & Ehrman LLC                     Receiver Fees
                                 2344 Canal Rd., Suite 401
                                 Cleveland, OH 44113-2535
   01/04/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                         1141-00                    $500.00                              $575,210.76
                                 2040 Burgess Dr., Unit 312
                                 Uniontown, OH 44685-8918
   01/04/19            103       Whitmer & Ehrman LLC                     Receiver and Attorney for                               2200-000                                        $902.10         $574,308.66
                                 2344 Canal Rd.                           Receiver Expenses
                                 Cleveland, OH 44113-2535
   06/26/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                         1141-000                   $500.00                              $574,808.66
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   06/26/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                         1141-000                   $500.00                              $575,308.66
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   06/26/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                         1141-000                   $500.00                              $575,808.66
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   06/26/19            104       Whitmer & Ehrman LLC                     Attorney for the Receiver fees                          3220-000                                     $1,153.80          $574,654.86
                                 2344 Canal Rd., Ste. 401                 and reimbursement of
                                 Cleveland, OH 44113                      expenses
                                                                          Reimbursement of Expenses,
                                                                          written long after allowed in
                                                                          Court's Order, Dkt. No. 347
   07/10/19                      Transfer to Acct # xxxxxx0046            Transfer of Funds                                       9999-00                                    $574,654.86                 $0.00



                                                                                                            COLUMN TOTALS                              $677,062.94           $677,133.31
                                                                                                                  Less: Bank Transfers/CD's                    $0.00         $574,654.86
                                                                                                            Subtotal                                   $677,062.94           $102,478.45
                                                                                                                  Less: Payments to Debtors                    $0.00                $0.00
                                                                                                            Net                                        $677,062.94           $102,478.45




                                                                                 Page Subtotals:                                                          $2,000.00          $589,114.76
                                                                                                                                                                                                 Page:           6
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 43 of 48. PageID #: 6388
                                                                          FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                        Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                      Bank Name: Axos Bank
                                                                                                                Account Number/CD#: XXXXXX0046
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX8685                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                     5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                             ($)
   07/10/19                      Transfer from Acct # xxxxxx0149          Transfer of Funds                                     9999-00                $574,654.86                                $574,654.86

   07/29/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $250.00                              $574,904.86
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44585-8918
   08/14/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $500.00                              $575,404.86
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   08/14/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $500.00                              $575,904.86
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   08/28/19             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-000                     $300.00                              $576,204.86
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   10/07/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                  ($500.00)                               $575,704.86
                                 2040 Burgess Dr. Unit 312                Reversal
                                 Uniontown, OH 44685-8918                 Check was stale. Rejected by
                                                                          Axos; returned to Hixson with
                                                                          request for new check.
   10/07/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                  ($500.00)                               $575,204.86
                                 2040 Burgess Dr. Unit 312                Reversal
                                 Uniontown, OH 44685-8918                 Check was stale. Rejected by
                                                                          Axos; returned to Hixson with
                                                                          request for new check.
   10/08/19                      James Ehrman Receiver Account No. 001 Transfer of Funds to Close                               1129-000                      $30.18                              $575,235.04
                                                                       Account in Case No. 1
   10/08/19             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $300.00                              $575,535.04
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   11/05/19             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-000                     $250.00                              $575,785.04
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   11/19/19            2001      Timothy D. Shaver                        Service of Process                                    3992-000                                          $200.00         $575,585.04
                                 7599 Hillside Rd.
                                 Independence, OH 44131
   12/26/19             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-000                     $500.00                              $576,085.04
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918

                                                                                 Page Subtotals:                                                       $576,285.04                $200.00
                                                                                                                                                                                                 Page:           7
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 44 of 48. PageID #: 6389
                                                                          FORM 2
                                                                    ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                        Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                      Bank Name: Axos Bank
                                                                                                                Account Number/CD#: XXXXXX0046
                                                                                                                                         Checking
  Taxpayer ID No: XX-XXX8685                                                                            Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                           Separate Bond (if applicable):


       1                2                           3                                              4                                                     5                    6                     7

Transaction Date     Check or             Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                             ($)
   12/26/19             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-000                     $350.00                              $576,435.04
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   02/19/20            2002      Kohrman Jackson & Krantz PLL             Professional Fees Main Case                           3110-000                                      $32,962.44          $543,472.60
                                 1375 East 9th St.                        Receiver Fees $23,364.68
                                 One Cleveland Center, 29th Floor         Attorney for Receiver Fees
                                 Cleveland, OH 44114-1793                 $9,597.76
   02/19/20            2003      James Ehrman, Receiver                   Receiver Fees General                                 2100-000                                      $17,848.00          $525,624.60
                                                                          Receivership
   02/19/20            2004      Whitmer & Ehrman LLC                     Attorney for Receiver Fees                            3110-000                                     $120,050.00          $405,574.60
                                 2344 Canal Road                          General
                                 Cleveland, Ohio 44113
   02/19/20            2005      Whitmer & Ehrman LLC                     Reimbursement of Out of                               3320-000                                          $150.00         $405,424.60
                                 2344 Canal Road                          Pocket Expenses
                                 Cleveland, Ohio 44113
   02/19/20            2006      James Ehrman, Receiver                   Receiver Expenses                                     2200-000                                       $1,111.91          $404,312.69

   03/18/20             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $250.00                              $404,562.69
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   03/18/20             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $500.00                              $405,062.69
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   05/13/20             1        Jeremy Hixson                            Hixson Settlement Proceeds                            1141-000                     $250.00                              $405,312.69
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   06/08/20             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $300.00                              $405,612.69
                                 2040 Burgess Dr., Unit 312
                                 Uniontown, OH 44685-8918
   06/08/20            2007      Brian R. Greene                          Accounting Services                                   3410-000                                       $4,760.00          $400,852.69
                                 Colagiovanni & Greene, Inc.
                                 7840 Mayfield R.d
                                 Chesterland, OH 44026

   06/25/20             1        Jeremy Hixson                            Settlement of Hixson Litigation                       1141-000                     $300.00                              $401,152.69
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918


                                                                                 Page Subtotals:                                                          $1,950.00          $176,882.35
                                                                                                                                                                                                   Page:           8
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 45 of 48. PageID #: 6390
                                                                          FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                           Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                        Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0046
                                                                                                                                          Checking
  Taxpayer ID No: XX-XXX8685                                                                               Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                            3                                              4                                                      5                    6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)        Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                             ($)
   08/03/20             1        Jeremy Hixson                             Settlement of Hixson Litigation                        1141-000                     $300.00                              $401,452.69
                                 2040 Burgess Dr. Unit 312
                                 Uniontown, OH 44685-8918
   09/10/20             1        Jeremy Hixson                             Hixson Settlement Proceeds                             1141-000                     $300.00                              $401,752.69
                                 2040 Burgess Dr., Unit 312
                                 Uniontown, OH 44685-8918
   10/05/20             10       David G. Phillips Attorney at Law         Guerrini/ADZ/Ohio Furn                                 1180-000               $123,157.34                                $524,910.03
                                 4403 St. Clair Ave.                       Escrow
                                 Cleveland, Ohio 44103                     Amount of Escrow Funds
                                                                           required to be deposited with
                                                                           the Receiver by virtue of the
                                                                           Court's September 28, 2020,
                                                                           Order [Dkt. No. 137].
   10/05/20             1        Jeremy Hixson                             Settlement of Hixson Litigation                        1141-000                     $250.00                              $525,160.03
                                 4451 Folkstone Cir.
                                 Uniontown, OH 44685-6925
   10/05/20             10       David G. Phillips Attorney at Law         Guerrini/ADZ/Ohio Furn                                 1180-000              ($123,157.34)                               $402,002.69
                                 4403 St. Clair Ave.                       Escrow Reversal
                                 Cleveland, Ohio 44103                     Amount of Escrow Funds
                                                                           required to be deposited with
                                                                           the Receiver by virtue of the
                                                                           Court's September 28, 2020,
                                                                           Order [Dkt. No. 137].
   11/18/20             1        Jeremy Hixson                             Hixson Settlement Proceeds                             1141-000                     $100.00                              $402,102.69
                                 4451 Folkstone Cir.
                                 Uniontown, OH 44685-6926
   11/18/20             1        Jeremy Hixson                             Hixson Settlement Proceeds                             1141-000                     $300.00                              $402,402.69
                                 4451 Folkstone Cir.
                                 Uniontown, OH 44685-6925
   12/19/20             1        Jeremy Hixson                             Hixson Settlement Proceeds                             1141-000                     $300.00                              $402,702.69
                                 4451 Folkstone Cir.
                                 Uniontown, OH 44685-6925
   01/25/21             1        Jeremy Hixson                             Settlement of Hixson Litigation                        1141-00                      $150.00                              $402,852.69
                                 4451 Folkstone Cir
                                 Uniontown, OH 44685-6925
   02/18/21             1        Jeremy Hixson                             Hixson Settlement Proceeds                             1141-00                      $250.00                              $403,102.69
                                 4451 Folkstone Cir
                                 Uniontown, OH 44685-6925


                                                                                  Page Subtotals:                                                          $1,950.00                  $0.00
                                                                                                                                                                                                Page:           9
                                       Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 46 of 48. PageID #: 6391
                                                                         FORM 2
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                          Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                       Bank Name: Axos Bank
                                                                                                                 Account Number/CD#: XXXXXX0046
                                                                                                                                        Checking
  Taxpayer ID No: XX-XXX8685                                                                           Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                          Separate Bond (if applicable):


       1                2                          3                                              4                                                     5                    6                     7

Transaction Date     Check or            Paid To / Received From                      Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                     Reference                                                                                                     Code                                                            ($)
   04/15/21             1        Jeremy Hixson                           Settlement of Hixson Litigation                         1141-00                     $50.00                              $403,152.69
                                 4451 Folkstone Cir.
                                 Uniontown, OH 44685-6925
   07/26/21             1        Jeremy Hixson                           Hixson Settlement Proceeds                              1141-00                     $50.00                              $403,202.69
                                 441 Folkstone Cir
                                 Uniontown, OH 44685-6925
   07/26/21             1        Jeremy Hixson                           Hixson Settlement Proceeds                              1141-00                    $100.00                              $403,302.69
                                 4451 Folkstone Cir.
                                 Uniontown, OH 44685-6925
   07/26/21             1        Jeremy Hixson                           Hixson Settlement Proceeds                              1141-00                    $100.00                              $403,402.69
                                 441 Folkstone Cir.
                                 Uniontown, OH 44685-6925


                                                                                                           COLUMN TOTALS                              $580,485.04           $177,082.35
                                                                                                                 Less: Bank Transfers/CD's            $574,654.86                  $0.00
                                                                                                           Subtotal                                      $5,830.18          $177,082.35
                                                                                                                 Less: Payments to Debtors                    $0.00                $0.00
                                                                                                           Net                                           $5,830.18          $177,082.35




                                                                                Page Subtotals:                                                             $300.00                $0.00
                                                                                                                                                                                                Page:       10
                                        Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 47 of 48. PageID #: 6392
                                                                          FORM 2
                                                                     ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 1:14cv1155                                                                                            Trustee Name: James Ehrman
      Case Name: Abdallah Main Case                                                                                         Bank Name: Axos Bank
                                                                                                                   Account Number/CD#: XXXXXX0061
                                                                                                                                          GUERRINI/ADZ/OHIO FURN ESCROW
  Taxpayer ID No: XX-XXX8685                                                                               Blanket Bond (per case limit): $200,000.00
For Period Ending: 08/04/2021                                                                            Separate Bond (if applicable):


       1                2                            3                                              4                                                    5                   6                     7

Transaction Date     Check or              Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)      Disbursements ($)    Account/CD Balance
                     Reference                                                                                                       Code                                                          ($)
   10/05/20             10       David G. Phillips Attorney at Law         Guerrini/ADZ/Ohio Furn                                  1180-000             $123,157.34                              $123,157.34
                                 4403 St. Clair Ave.                       Escrow
                                 Cleveland, Ohio 44103                     Amount of Escrow Funds
                                                                           required to be deposited with
                                                                           the Receiver by virtue of the
                                                                           Court's September 28, 2020,
                                                                           Order [Dkt. No. 137].


                                                                                                             COLUMN TOTALS                              $123,157.34                $0.00
                                                                                                                   Less: Bank Transfers/CD's                  $0.00                $0.00
                                                                                                             Subtotal                                   $123,157.34                $0.00
                                                                                                                   Less: Payments to Debtors                  $0.00                $0.00
                                                                                                             Net                                        $123,157.34                $0.00




                                                                                  Page Subtotals:                                                       $123,157.34                $0.00
                                                                                                                                                                  Page:     11
                                Case: 1:14-cv-01155-SO Doc #: 381-3 Filed: 08/05/21 48 of 48. PageID #: 6393



                                                                                             TOTAL OF ALL ACCOUNTS
                                                                                                                                              NET              ACCOUNT
                                                                                                           NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                  XXXXXX0046 - Checking                                           $5,830.18           $177,082.35             $403,402.69
                                                  XXXXXX0061 - GUERRINI/ADZ/OHIO                               $123,157.34                   $0.00            $123,157.34
                                                  FURN ESCROW
                                                  XXXXXX0149 - Checking                                        $677,062.94            $102,478.45                   $0.00
                                                                                                               $806,050.46            $279,560.80             $526,560.03

                                                                                                          (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                  transfers)            to debtors)
                                                  Total Allocation Receipts:                      $0.00
                                                  Total Net Deposits:                       $806,050.46
                                                  Total Gross Receipts:                     $806,050.46



Trustee Signature:   /s/ James Ehrman    Date: 08/04/2021

                     James Ehrman
                     Whitmer & Ehrman LLC
                     2344 Canal Road, Suite 401
                     Cleveland, OH 44113-2535
                     (216) 736-7298
                     jwe@kjk.com




                                                                          Page Subtotals:                                        $0.00                $0.00
